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                       UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )      CASE NO. 8:08CR135
                                                  )
                            Plaintiff,            )
                                                  )
                     vs.                          )      FINAL ORDER OF
                                                  )      FORFEITURE
                                                  )
ROBERT K. MORRIS,                                 )
                                                  )
                            Defendant.            )

       This matter is before the Court on the United States’ Motion for Final Order of

Forfeiture (Filing No. 96). The Court reviews the record in this case and, being duly

advised in the premises, find as follows:

       1. On August 19, 2008, the Court entered a Preliminary Order of Forfeiture pursuant

to the provisions of Title 18, United States Code, Sections 922(g)(1), 924(d) and Title 28,

United States Code, Section 2461(c), based upon the Defendant's plea of guilty to Counts

IV and V of the Second Superseding Indictment filed herein. By way of said Preliminary

Order of Forfeiture, the Defendant’s interest in a Smith and Wesson 9mm pistol, serial no.

VCH 5776 was forfeited to the United States.

       2. On August 28, September 4 and 11, 2008, the United States published in a

newspaper of general circulation notice of this forfeiture and of the intent of the United

States to dispose of the property in accordance with the law, and further notifying all third

parties of their right to petition the Court within the stated period of time for a hearing to

adjudicate the validity of their alleged legal interest(s) in said property. An Affidavit of

Publication was filed herein on October 10, 2008 (Filing No. 93).
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       3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.

       IT IS ORDERED:

       A. The Plaintiff’s Motion for Final Order of Forfeiture (Filing No. 96) is hereby

sustained.

       B. All right, title and interest in and to the Smith and Wesson 9mm pistol, serial no.

VCH 5776, held by any person or entity, is hereby forever barred and foreclosed.

       C. The Smith and Wesson 9mm pistol, serial no. VCH 5776, be, and the same

hereby is, forfeited to the United States of America .

       D. The United States Bureau of Alcohol, Tobacco and Firearms for the District of

Nebraska is directed to dispose of said property in accordance with law.

       DATED this 16th day of October, 2008.


                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




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